          Case 8:18-cv-03019-GJH Document 22 Filed 04/04/19 Page 1 of 26



                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MARYLAND



AMERICAN CHEMICAL SOCIETY ET AL.,         Case No. 8:18-cv-03019-GJH

                         Plaintiffs,

     v.

RESEARCHGATE GMBH,

                         Defendant.


  DEFENDANT RESEARCHGATE GMBH’S REPLY IN SUPPORT OF ITS MOTION
                 FOR NOTICE UNDER 17 U.S.C. § 501(B)
         Case 8:18-cv-03019-GJH Document 22 Filed 04/04/19 Page 2 of 26



                                               TABLE OF CONTENTS

I.     INTRODUCTION .................................................................................................................1

II.    ARGUMENT .........................................................................................................................2

       A.        Section 501(b) was designed to address the specific scenario here: where a
                 lawsuit affects third parties who have an interest in the disputed
                 copyrighted works. .....................................................................................................2

                 1.         Plaintiffs fail to cite a single case denying relief under Section
                            501(b). ............................................................................................................2

                 2.         Plaintiffs misconstrue the legislative history of Section 501(b). ...................3

       B.        The non-corresponding authors have an interest in the disputed works. ...................6

                 1.         There is no dispute that the non-corresponding authors originally
                            had an interest in these works. .......................................................................6

                 2.         Plaintiffs do not provide writings transferring the copyrights to
                            them signed by the non-corresponding authors. ............................................6

                 1.         Plaintiffs’ agency theory fails. .......................................................................7

                 2.         Plaintiffs’ own registrations show defects in their ownership of the
                            works. .............................................................................................................10

                 3.         Plaintiffs fail to distinguish the relevant case law. ........................................12

       C.        The non-corresponding authors’ interests will be affected by this
                 proceeding. .................................................................................................................14

                 1.         Plaintiffs’ allegations create an unavoidable conflict with the
                            authors regarding their rights. ........................................................................15

                 2.         Plaintiffs admit that they have taken legal action against the
                            authors impairing their ability to share their own works. ..............................16

                 3.         These disputes distinguish Metropolitan Regional. .......................................18

       D.        The burden on Plaintiffs is minimal compared to the stakes of this
                 proceeding. .................................................................................................................19

III.   CONCLUSION ......................................................................................................................20




                                                                   i
            Case 8:18-cv-03019-GJH Document 22 Filed 04/04/19 Page 3 of 26



                                               TABLE OF AUTHORITIES

                                                                                                                              Page(s)

Cases

BMG Rights Mgmt. (US) LLC v. Cox Commc’ns, Inc.,
  881 F.3d 293 (4th Cir. 2018) ...................................................................................................15

Davis v. Blige,
   505 F.3d 90 (2d Cir. 2007).....................................................................................................8, 9

Diamond Star Bldg. Corp. v. Freed,
   30 F.3d 503 (4th Cir. 1994) .....................................................................................................10

DSC Commc’ns Corp. v. Pulse Commc’ns, Inc.,
  170 F.3d 1354 (Fed. Cir. 1999)................................................................................................15

Durham Indus., Inc. v. Tomy Corp.,
   630 F.2d 905 (2d Cir. 1980).....................................................................................................10

Dynamic Sols., Inc. v. Planning & Control, Inc.,
   No. 86 Civ. 1886, 1987 WL 6419 (S.D.N.Y. Feb. 2, 1987) ....................................................14

Eden Toys, Inc. v. Florelee Undergarment Co.,
   697 F.2d 27 (2d Cir. 1982).......................................................................................................18

Getty Images (US) Inc. v. Advernet, Inc.,
   797 F. Supp. 2d 399 (S.D.N.Y. 2011)........................................................................................8

Kamakazi Music Corp. v. Robbins Music Corp.,
  534 F. Supp. 69 (S.D.N.Y. 1982) ........................................................................................4, 17

Koufman v. Int’l Bus. Machines Corp.,
   295 F. Supp. 784 (S.D.N.Y. 1969) ............................................................................................9

Metro-Goldwyn-Mayer Studios Inc. v. Grokster, Ltd.,
   545 U.S. 913 (2005) .................................................................................................................15

Metropolitan Regional Information Systems, Inc. v. American Home Realty
   Network, Inc.,
   722 F.3d 591 (4th Cir. 2013) ...................................................................................................18

Motta v. Samuel Weiser, Inc.,
   768 F.2d 481 (1st Cir. 1985) ......................................................................................................7

Recht v. Metro Goldwyn Mayer Studio, Inc.,
   580 F. Supp. 2d 775 (W.D. Wis. 2008) .............................................................................12, 13


                                                                    ii
             Case 8:18-cv-03019-GJH Document 22 Filed 04/04/19 Page 4 of 26



Stafford Trading, Inc. v. Lovely,
    No. 05 C 4868, 2007 WL 1512417 (N.D. Ill. May 21, 2007) .................................................13

Taylor v. Universal Music Corp., Inc.,
   No. CV 13-06412, 2014 WL 12607685 (C.D. Cal. Mar. 10, 2014) ..................................13, 14

Thomas M. Gilbert Architects, P.C. v. Accent Builders & Developers, LLC,
   377 F. App’x 303 (4th Cir. 2010) ..............................................................................................9

Union Camp Corp. v. Dyal,
   460 F.2d 678 (5th Cir. 1972) .....................................................................................................9

Universal Furniture Int’l, Inc. v. Collezione Europa USA, Inc.,
   618 F.3d 417 (4th Cir. 2010) ...................................................................................................10

van’t Rood v. Cty. of Santa Clara,
   113 Cal. App. 4th 549 (Cal. Ct. App. 2003) ..............................................................................9

Whittle v. Brown,
   217 Md. 161 (Md. 1958) ............................................................................................................7

Statutes

17 U.S.C. § 101 ..............................................................................................................................11

17 U.S.C. § 103 ..............................................................................................................................11

17 U.S.C. § 201 ....................................................................................................................6, 11, 12

17 U.S.C. § 204 ..........................................................................................................................7, 18

17 U.S.C. § 204(a) ...................................................................................................................7, 8, 9

17 U.S.C. § 501 ................................................................................................................................2

17 U.S.C. § 501(b) ................................................................................................................. passim

17 U.S.C. § 512 ....................................................................................................................2, 16, 17

Copyright Act of 1976 ...........................................................................................................3, 9, 13

Other Authorities

Fed. R. Civ. P. 19 ...........................................................................................................................13

H.R. Rep. No. 1476 (1978), reprinted in 1976 U.S.C.C.A.N. 5658 ......................................4, 5, 17

Notice and Takedown in Everyday Practice,
   U.C. Berkeley Pub. Law Res. Paper No. 2755628 (2017).................................................16, 17

                                                                      iii
Case 8:18-cv-03019-GJH Document 22 Filed 04/04/19 Page 5 of 26




                              iv
          Case 8:18-cv-03019-GJH Document 22 Filed 04/04/19 Page 6 of 26



I.       INTRODUCTION

         Plaintiffs argue no notice is required because Plaintiffs are protecting the academics and

scientists whose rights are directly implicated by this case. But Plaintiffs’ true aim is to usurp

those rights: They seek a ruling that would bar researchers from publishing their own scientific

papers on their own ResearchGate pages. Because Plaintiffs’ purposes are at odds with those of

the authors, it is no surprise that Plaintiffs are fighting to avoid having to disclose the existence

of this unprecedented proceeding from the very authors whose rights are at issue.

         To prevail in this case, Plaintiffs must prove that researchers who never signed away their

rights do not own the copyright in their own articles, and that those researchers therefore infringe

Plaintiffs’ copyrights when they post their own articles on ResearchGate. For that to be true, the

law requires a signed, written transfer of copyright from all co-authors of the disputed works to

Plaintiffs. That didn’t happen. Yet Plaintiffs argue that they, and not the articles’ authors,

should be “presumed” to own the copyright—and that Plaintiffs should be able to litigate their

claims without so much as notifying the authors that their right to share their own work is at

stake.

          Despite the centrality of the third-party authors’ rights to this case, Plaintiffs argue that

merely notifying the authors that their rights are at stake will “prejudice” the authors by

“breed[ing] confusion in the scholarly community” and “distracting researchers and scientists

from their core mission.” Opp’n Br. at 14. Indeed, Plaintiffs even suggest that for these

authors—including professors, scientists and researchers—merely “being sent legal documents

will confuse them” or the authors “may even feel threatened.” Id. at 14-15; see Compl. ¶ 17.

         If the researchers are distracted, it will be by Plaintiffs’ efforts to stop them from sharing

their own work. If they feel threatened, it will be by the prospect of losing their copyrights

without ever having signed them away. The Court should deny Plaintiffs’ request to impose a

                                                   1
         Case 8:18-cv-03019-GJH Document 22 Filed 04/04/19 Page 7 of 26



cone of silence around these proceedings and grant ResearchGate’s motion.

II.    ARGUMENT

       A.      Section 501(b) was designed to address the specific scenario here: where a
               lawsuit affects third parties who have an interest in the disputed copyrighted
               works.

       17 U.S.C. § 501(b) is a simple provision with a simple purpose:

               The court may require such owner to serve written notice of the
               action with a copy of the complaint upon any person shown, by the
               records of the Copyright Office or otherwise, to have or claim an
               interest in the copyright, and shall require that such notice be
               served upon any person whose interest is likely to be affected by a
               decision in the case.

Id. (emphases added). This provision is designed to protect third parties’ rights where a party in

copyright litigation has placed their rights in question. That is what is happening here. Plaintiffs

accuse the authors of copyright infringement and have represented in DMCA takedown notices

that those authors’ distribution of their own works via ResearchGate is unlawful. Those authors

would inevitably be prejudiced if Plaintiffs’ claims were successful. ResearchGate has not

“manufacture[d] a dispute,” as Plaintiffs assert. Opp’n Br. at 2. The dispute arises from

Plaintiffs’ contention that Plaintiffs own the authors’ work and have the legal right to prevent the

authors from sharing it. The authors have shared their articles on ResearchGate’s site; Plaintiffs

have challenged their right to do so. All interested parties should be given a chance to participate

if they so choose.

               1.      Plaintiffs fail to cite a single case denying relief under Section 501(b).

       Plaintiffs do not cite a single case in which a court denied notice under Section 501(b).

See Opp’n Br. at 9. They argue instead that no defendant has requested notice under Section

501(b) in a case like this one. Id. But that is because there has never been a case like this one—

where a party claims to own the writings of thousands of third-party authors and seeks to enforce


                                                 2
         Case 8:18-cv-03019-GJH Document 22 Filed 04/04/19 Page 8 of 26



its claimed ownership rights against the activities of those very authors.

       ResearchGate is bringing this motion in response to Plaintiffs’ claim that ResearchGate is

secondarily liable for direct infringement by the works’ non-corresponding authors—that is,

authors who never signed a writing transferring their copyrights in the works-in-suit to Plaintiffs.

This motion is not related to the other claims in the Complaint about actions that ResearchGate

allegedly took on its own.      Nor is it related to works that were shared by corresponding

authors—as to whom the ownership situation may be more complicated, since they signed a

writing purporting to transfer a copyright interest to Plaintiffs. Instead, it is related only to those

works where the alleged infringement resulted from (1) sharing on ResearchGate by an author

(2) who is not the “corresponding author” and therefore has not signed a writing transferring

away his or her copyright interest. These authors deserve the chance to defend their rights.

               2.      Plaintiffs misconstrue the legislative history of Section 501(b).

       The legislative history of Section 501(b) confirms its application here.              The best

explanation of Section 501(b) comes from the Supplementary Report of the Register of

Copyrights on a draft of what became the Copyright Act of 1976. The Register explained:

               Subsection (b) of section 501 represents an effort to deal with a
               difficult practical problem: how, under a system of divisible
               copyright, to make it possible for the owner of a particular right to
               bring an infringement action in his own name alone, and at the
               same time to insure as far as possible that the owners of other
               rights which may be affected are notified of the suit and given an
               opportunity to become parties. As indicated in chapter 3,
               considerable concern has been expressed about the dangers to
               copyright owners when each of the exclusive rights under a
               copyright can be owned and defended separately in court. An
               example was given of the owner of an exclusive right who
               discovers too late that, as the result of a judgment in an action
               brought by the owner of another exclusive right in a remote
               jurisdiction, he can no longer enforce his rights because the
               defendant is judgment proof, because of the doctrines of res
               judicata, collateral estoppel, etc.


                                                  3
         Case 8:18-cv-03019-GJH Document 22 Filed 04/04/19 Page 9 of 26



H. Comm. On the Judiciary, 89th Cong., 1st Sess., Copyright Law Revision: Supplemental

Report of Register of Copyrights on General Revision of U.S. Copyright Law: 1965 Revision

Bill, Copyright Law Revision Part 6 (Comm. Print 1965) (“Register’s Report”) (emphasis

added), available at https://books.google.com/books?id=65AYAAAAMAAJ&pg=PA131.

       This is exactly what will happen if Plaintiffs prevail in this case. Plaintiffs and the non-

corresponding authors both have claims to copyright in these works. These claims are in

conflict; Plaintiffs argue that the non-corresponding authors have transferred their rights to

Plaintiffs and accuse the authors of violating the law (by bringing contributory infringement

claims that depend on direct infringement by the non-corresponding authors). See Opening Br.

at 11; see also infra at II.C.1. A judgment in favor of Plaintiffs in this district—“a remote

jurisdiction” for many of the thousands of authors at issue—would mean the authors could “no

longer enforce” the copyright in their works. Id. It would also mean that the authors could no

longer publish—or authorize others to publish—their own work.             The notice provision is

designed to prevent these authors from “discover[ing] too late” that their rights may be affected.

Id. This means they should be notified as soon as possible to give them time to make an

informed decision about whether to intervene or otherwise participate.

       Plaintiffs appear to agree that “the intent [of Section 501(b) was] to avoid a multiplicity

of suits by ‘insuring to the extent possible that the owners whose rights may be affected are

notified and given a chance to join the action.’” Kamakazi Music Corp. v. Robbins Music Corp.,

534 F. Supp. 69, 74 (S.D.N.Y. 1982) (quoting H.R. Rep. No. 1476, at 159 (1978), reprinted in

1976 U.S.C.C.A.N. 5658, 5775). Plaintiffs, however, are wrong to read into this legislative

history limitations and conditions on Section 501(b) that do not exist.

       First, Plaintiffs argue that notice is inappropriate because “Plaintiffs are not exclusive



                                                 4
        Case 8:18-cv-03019-GJH Document 22 Filed 04/04/19 Page 10 of 26



licensees of the holder of the copyrights but own the copyrights themselves via assignment.”

Opp’n Br. at 13. But neither the statute nor the legislative history says anything about “exclusive

licensees.” The statute refers to an “owner” of copyright—which Plaintiffs claim to be. See 17

U.S.C. § 501(b). And the legislative history, too, refers to the party in Plaintiffs’ position as “the

owner of a particular right.” Register’s Report at 131. Plaintiffs invent this “exclusive licensee”

limitation out of whole cloth. And indeed, Plaintiffs’ proposed limitation presupposes that they

are the sole owners of copyright in the authors’ articles. But the need to resolve the ownership

question is exactly why notice should be granted.

       Next, Plaintiffs argue that “Section 501(b) is designed to give all potential plaintiffs an

opportunity to participate in a single action.” Opp’n Br. at 13-14 (emphasis added). But nothing

limits Section 501(b)’s application to “potential plaintiffs.” The text refers to “person[s]” who

“have or claim an interest in the copyright.” 17 U.S.C. § 501(b). The legislative history refers to

“owners whose rights may be affected.” H.R. Rep. No. 1476. There is no support, in the text or

elsewhere, for limiting Section 501(b) to copyright holders who wish to enjoin the dissemination

of their writings. Instead, the statute embraces all third parties who “have or claim an interest in

the copyright,” whether they would seek to stop dissemination or whether they would seek to

preserve their own freedom to disseminate their own work. Many authors who are notified may

decide not to participate in this action. But one or more authors who disagree with Plaintiffs

could choose to intervene or otherwise participate. Authors cannot decide whether they want to

participate in this action, however, unless they know it exists.

       This lawsuit not only “may” affect the interests of out-of-court third parties in the

copyrights of the disputed works, see H.R. Rep. No. 1476, at 159, but is likely to affect those

interests, see 17 U.S.C. § 501(b). The statute requires that those authors “shall” be notified. Id.



                                                  5
        Case 8:18-cv-03019-GJH Document 22 Filed 04/04/19 Page 11 of 26



       B.      The non-corresponding authors have an interest in the disputed works.

       Plaintiffs’ second broad attack on the notice requirement is that ResearchGate has “not

met its burden of providing evidence” that non-corresponding authors have a copyright interest.

Opp’n Br. at 4. But this case is at the pleadings stage; discovery has barely commenced, and

because Plaintiffs have yet to produce documents, the form agreements published by Plaintiffs

are all there is to rely on. Based on those forms—and, despite the opportunity to do so in their

Opposition, Plaintiffs have not said that they did not use their own forms—the non-
                                                                                               1
corresponding authors are third parties who “have or claim an interest” in the copyright.          Nor

have Plaintiffs suggested that any non-corresponding author signed any writing, either with the

Plaintiffs or with other co-authors. Section 501(b) is about giving those non-corresponding

authors an opportunity to intervene before a final judgment that may affect their rights.

               1.      There is no dispute that the non-corresponding authors originally had
                       an interest in these works.

       Plaintiffs do not dispute that the non-corresponding authors at one time had an interest in

the works at issue. “Copyright in a work protected under the title vests initially in the author or

authors of the work.” 17 U.S.C. § 201(a). Thus, in order to show that Plaintiffs own the entirety

of the copyright, and that the non-corresponding authors no longer have a copyright interest that

would justify notice, Plaintiffs would need to show that each non-corresponding author

transferred away his or her interest, and that one of the Plaintiffs now owns that interest.

               2.      Plaintiffs do not provide writings transferring the copyrights to them
                       signed by the non-corresponding authors.

       ”A transfer of copyright ownership . . . is not valid unless an instrument of conveyance,


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  In fact, in their Opposition, Plaintiffs argue that “[a]ll available evidence before the Court
corroborates [certain] terms in the publication agreements,” suggesting that they are not
disputing that these are the operative agreements. Id. at 6.


                                                  6
        Case 8:18-cv-03019-GJH Document 22 Filed 04/04/19 Page 12 of 26



or a note or memorandum of the transfer, is in writing and signed by the owner of the rights

conveyed or such owner’s duly authorized agent.” 17 U.S.C. § 204(a) (emphasis added). And

“[i]f a plaintiff is not the author of the copyrighted work then he or she must establish a

proprietary right through the chain of title in order to support a valid claim to the copyright.”

Motta v. Samuel Weiser, Inc., 768 F.2d 481, 484 (1st Cir. 1985). With respect to the supposed

conveyance to Plaintiffs of the copyright interests initially owned by the non-corresponding

authors, Plaintiffs have not provided any documents “in writing and signed by the owner of the

rights conveyed,” 17 U.S.C. § 204(a), and have not alleged that any such documents exist.

               1.      Plaintiffs’ agency theory fails.

       The only remaining possibility for there to have been a valid transfer under Section

204(a) is that, while the non-corresponding authors never signed a document conveying any

rights to Plaintiffs, the corresponding author did sign something, and did so acting as the “duly

authorized agent” of each of the non-corresponding authors. This appears to be Plaintiffs’ sole

theory. See Opp’n Br. at 6 (“[T]he corresponding author acts as the duly authorized agent for all

co-authors.”). The hole in Plaintiffs’ agency theory is that they have no writing indicating that

the corresponding authors were authorized to act as their agents. Instead, they rely on what they

say are the uncorroborated representations of the supposed agents themselves. Id. (“[B]y signing

the publication agreement, the corresponding author represents that he or she has precisely the

authority § 204(a) requires.”). This is insufficient for several reasons.

       First, and most simply, all that Plaintiffs claim to have is a representation from the

corresponding author—the putative agent—that she possesses the authority to transfer her co-

authors’ copyrights. But “[i]t is well settled that ‘an agent’s own declarations are insufficient to

establish his agency.’” Whittle v. Brown, 217 Md. 161, 167 (Md. 1958) (citation omitted).

There is no evidence of any statement—oral or in writing—by the non-corresponding authors

                                                  7
        Case 8:18-cv-03019-GJH Document 22 Filed 04/04/19 Page 13 of 26



(the putative principals) suggesting that they appointed the corresponding author as their agent.

In the absence of such evidence, Plaintiffs have not met their burden to establish that they

received a transfer of the entire copyright. See, e.g., Getty Images (US) Inc. v. Advernet, Inc.,

797 F. Supp. 2d 399, 416 (S.D.N.Y. 2011) (“[T]o have a valid copyright ownership of [a work

with several joint authors] . . . the plaintiff must demonstrate that . . . both authors . . . conveyed

exclusive rights to it, which the plaintiff failed to do. Thus, the plaintiff failed to establish

ownership of a valid copyright . . . .”).

        Second, even if there were some oral agreement between the putative principal and the

putative agent that the copyrights could be transferred, that would not satisfy the writing

requirement of Section 204(a). That is because a co-owner “may not . . . convey the interests of

his fellow co-owners without their express written consent . . . .” Davis v. Blige, 505 F.3d 90, 99

(2d Cir. 2007) (emphasis added). Plaintiffs rely on this case in their Opposition, see Opp’n Br. at

5, but argue in a footnote that this statement is dicta. It is not. The key question in Blige was

whether unwritten communications could transfer copyrights. See, e.g., Blige, 505 F.3d at 107-

08. The result in Blige would have been different if the alleged 1998 oral agreement could have

resulted in a valid transfer of copyright—and on Plaintiffs’ theory here, it could have:

Chambliss, the alleged third-party co-author, could have orally made the defendant, Miller, his

“authorized agent,” and Miller could have executed a unilateral writing transferring Chambliss’s

interests to himself. That sort of blatant end-run around the writing requirement of Section

204(a) is exactly what Plaintiffs say happened here. The Second Circuit did not need to explain

that one cannot circumvent the writing requirement by the oral creation of an agency

relationship, and the execution of a writing by the putative transferee as “agent” for the

transferor. That does not make its unequivocal statement “dicta”; instead, it highlights how far



                                                  8
        Case 8:18-cv-03019-GJH Document 22 Filed 04/04/19 Page 14 of 26



afield Plaintiffs’ theory goes.

       The unequivocal statement in Davis is an application of the “equal dignities rule,” which

holds that one cannot circumvent a writing requirement by orally creating an agency relationship

and pointing to the agent’s writing as satisfying the writing requirement.

       The equal dignities rule is simple: “Where the agreement to create an agency is express,

it ‘may be oral, except where the agency is to enter into a contract required by law to be in

writing, in which case the authorization must be in writing[.]’” van’t Rood v. Cty. of Santa

Clara, 113 Cal. App. 4th 549, 571 (Cal. Ct. App. 2003) (emphasis added) (citation omitted)

(applying California law); see also, e.g., Koufman v. Int'l Bus. Machines Corp., 295 F. Supp.

784, 789 (S.D.N.Y. 1969) (applying New York law to hold that an agent’s authority to enter into

a contract required by law to be in writing must itself be in writing); Union Camp Corp. v. Dyal,

460 F.2d 678, 686 (5th Cir. 1972) (same under Georgia law). This rule applies to many and
                                                          2
perhaps all of the non-corresponding authors in this case. It holds that the corresponding author

cannot be the non-corresponding author’s agent unless there is a signed writing authorizing the

corresponding author to act because copyright transfers are a “contract required by law to be in

writing.” van’t Rood, 113 Cal. App. 4th at 571.

       Plaintiffs have provided no evidence of the purported agents’ authority. Without it, their
2
  Because this motion aims only to require Plaintiffs to notify these authors, not to resolve the
legal agency question, we do not brief here all fifty states’ law on agency. The point is that
Plaintiffs’ assertion that the corresponding authors signed a form saying they were the agents of
the non-corresponding authors does not sweep away all questions about ownership, such that
there would be no need to notify the non-corresponding authors of this lawsuit. Indeed, one
potential outcome is not the application of potentially varying state law, but the imposition of a
uniform federal standard: The Fourth Circuit has expressly reserved the question whether issues
of contract law closely connected to the policies of the Copyright Act are instead questions of
federal law. See Thomas M. Gilbert Architects, P.C. v. Accent Builders & Developers, LLC, 377
F. App’x 303, 307 (4th Cir. 2010) (“[W]e need not resolve the source-of-law issue to decide the
case before us.”). If federal law applies, there would presumably be a uniform application of the
equal dignities rule, in light of the federal policy expressed in Section 204(a) that agreements
affecting ownership of a copyright must be in writing.


                                                  9
        Case 8:18-cv-03019-GJH Document 22 Filed 04/04/19 Page 15 of 26



theory fails. And, indeed, notifying non-corresponding authors of this action would aid, not

impede, the resolution of any factual disputes about the corresponding authors’ authority.

               2.     Plaintiffs’ own registrations show defects in their ownership of the
                      works.

       Finally, Plaintiffs attempt to hide behind the presumption of ownership provided by their

copyright registrations, since Plaintiffs unsurprisingly listed themselves—and not the authors—

as the copyright claimants. But as the Fourth Circuit has recognized, “this presumption is fairly

easy to rebut because the Copyright Office tends toward cursory issuance of registrations.”

Universal Furniture Int’l, Inc. v. Collezione Europa USA, Inc., 618 F.3d 417, 430 (4th Cir.

2010). Indeed, “a certificate of registration creates no irrebuttable presumption of copyright

validity. Where other evidence in the record casts doubt on the question, validity will not be

assumed.” Diamond Star Bldg. Corp. v. Freed, 30 F.3d 503, 505 n.1 (4th Cir. 1994) (quoting

Durham Indus., Inc. v. Tomy Corp., 630 F.2d 905, 908 (2d Cir. 1980)). Here, there is “other

evidence” that casts doubt on the proposition that the non-corresponding authors transferred

away their rights in a way that prevented them from sharing their own work via ResearchGate,

and it is contained in Plaintiffs’ Complaint: The non-corresponding authors are alleged to have

acted inconsistently with having done so, by sharing their own work via ResearchGate. That is

more than enough to cast at least some doubt on any presumption.

       Furthermore, even a cursory survey of the registration information shows that the

registrations do not apply as broadly as Plaintiffs claim. For example, many of the Elsevier
                                                                           3
registrations identified in the Complaint appear to be for compilations.       See Decl. of Joseph C.

Gratz submitted herewith (“Gratz Decl.”) Ex. 1, registration record for Elsevier Copyright
3
  ResearchGate has not finished an exhaustive survey of the relevant copyright registration
information, but a random sample of the registration records for 58 registrations revealed that all
58 appeared to be either in compilations or collective works.


                                                10
        Case 8:18-cv-03019-GJH Document 22 Filed 04/04/19 Page 16 of 26



Registration No. TX0007708971 (“Authorship: compilation”); see also Exs. 2-3 (same). But

copyright in a compilation is not the same as copyright in the component works. A compilation

is “a work formed by the collection and assembling of preexisting materials or of data that are

selected, coordinated, or arranged in such a way that the resulting work as a whole constitutes an

original work of authorship.” 17 U.S.C. § 101. Accordingly, the copyright in a compilation:

       extends only to the material contributed by the author of such work, as
       distinguished from the preexisting material employed in the work, and does not
       imply any exclusive right in the preexisting material. The copyright in such work
       is independent of, and does not affect or enlarge the scope, duration, ownership,
       or subsistence of, any copyright protection in the preexisting material

17 U.S.C. § 103(b). Thus, where Plaintiffs have a compilation copyright registration, that

registration creates a presumption that they own a copyright in the selection and arrangement of

preexisting articles gathered into issues of their journals. In many cases, the registrations say

nothing about ownership of the underlying third-party articles. And because only individual

articles, and not entire issues, are alleged to have been copied here, there would be no basis for a

claim of infringement of the compilation copyright.

       Similarly, the registrations identified by ACS appear to be for “collective works.” See

Gratz Decl. Ex. 4, registration record for ACS Copyright Registration No. TX0008236476

(“Authorship: collective work”); see also id. Exs. 5-6 (same). “A ‘collective work’ is a work,

such as a periodical issue, anthology, or encyclopedia, in which a number of contributions,

constituting separate and independent works in themselves, are assembled into a collective

whole.” 17 U.S.C. § 101. But “[c]opyright in each separate contribution to a collective work is

distinct from copyright in the collective work as a whole, and vests initially in the author of the

contribution.” 17 U.S.C. § 201(c).

       Because the copyright registrations are for compilations or collective works, and not for

the underlying articles, the copyright registrations give rise to no presumption that Plaintiffs own

                                                11
        Case 8:18-cv-03019-GJH Document 22 Filed 04/04/19 Page 17 of 26



the articles themselves. To the contrary, Congress created a limiting presumption with respect to

collective works, to deal with the situation where (as here) a third-party article was submitted for

inclusion in a collective work: “In the absence of an express transfer of the copyright or of any

rights under it, the owner of the copyright in the collective work is presumed to have acquired

only the privilege of reproducing and distributing the contribution as part of that particular

collective work” and related rights. Id. (emphasis added). Of course, that statutory presumption

points in the opposite direction of Plaintiffs’ claimed presumption.        Under Section 201(c),

Plaintiffs should be presumed to have received only the privilege of printing the articles in their

journals, not the entire copyright. Under Section 201(c), the non-corresponding authors to whom

notice is requested are presumed to have retained their copyrights.

       Accordingly, the Court cannot simply presume that Plaintiffs own the copyright in all of

the articles written by the non-corresponding authors that were published in Plaintiffs’ journals.

The non-corresponding authors should be given notice, so that they can protect their rights in the

work they submitted.

               3.      Plaintiffs fail to distinguish the relevant case law.

       Nor do Plaintiffs effectively distinguish the relevant case law. First, Plaintiffs distinguish

Recht v. Metro Goldwyn Mayer Studio, Inc., 580 F. Supp. 2d 775, 784-85 (W.D. Wis. 2008),

because it required notice to only one coauthor, and there was no evidence of a dispute of

ownership of the copyright with that coauthor. See id. at 784-85. In Recht, the Court ordered
                                                                                              4
notice sent to a screenplay’s coauthor because his authorship made him the “presumptive ‘co-

owner’” and therefore constituted an interest likely to be affected by the lawsuit. Id.

4
 Plaintiffs complain about ResearchGate’s use of the word “presumed” in its opening brief, but
omit that ResearchGate was simply using the phrasing used by the court in Recht. Compare
Opp’n Br. at 3 with ResearchGate’s Opening Br. at 9-10.


                                                12
           Case 8:18-cv-03019-GJH Document 22 Filed 04/04/19 Page 18 of 26



       But there was only one coauthor to be notified in Recht because there was only one work

in suit. Here, Plaintiffs (not ResearchGate) decided to accuse thousands of people of copyright

infringement. If anything, the number of people potentially affected by this case is all the more

reason to send them proper notice. Similarly, that Plaintiffs dispute ownership of the works is a

greater reason to notify the non-corresponding authors, for it makes it even more probable that

their “interest is likely to be affected by a decision in the case.” 17 U.S.C. § 501(b).

       Second, Plaintiffs fail to distinguish the Rule 19 joinder cases cited by ResearchGate.

Plaintiffs are correct that joinder of all co-owners is not mandatory under the Copyright Act of

1976. But, as explained both above and in Plaintiffs’ Opposition, the notice provision was

created as a replacement for the 1909 Act’s “onerous joinder requirement.” Opp’n Br. at 12.

That joinder has been ordered in similar cases supports, not detracts, from the necessity of

sending notice here: The purpose of the notice provision section is to ensure that removing this

“onerous” joinder requirement does not prejudice third parties with an interest in the copyright.

       ResearchGate’s cases show that similar parties to the non-corresponding authors here

were necessary parties to other lawsuits, and therefore exactly the type of parties that should be

noticed.    In Stafford Trading, the third-party bank was a necessary party because it was

“currently using” the disputed copyrighted works and would be adversely affected by a

declaration that the plaintiff was the true owner of the copyright. Stafford Trading, Inc. v.

Lovely, No. 05 C 4868, 2007 WL 1512417, at *12 (N.D. Ill. May 21, 2007). So it is here: The

non-corresponding authors were “using” the disputed works on their own ResearchGate pages

until Plaintiffs sent takedown notices that forced ResearchGate to remove the works.

       In Taylor (as in Recht), the work’s co-author was a necessary party because the complaint

disclosed the potential conflict in ownership, and resolution of the lawsuit may have adversely



                                                 13
        Case 8:18-cv-03019-GJH Document 22 Filed 04/04/19 Page 19 of 26



affected that co-authors’ rights. Taylor v. Universal Music Corp., Inc., No. CV 13-06412, 2014

WL 12607685, at *4 (C.D. Cal. Mar. 10, 2014). Plaintiffs’ Complaint also exposes a potential

ownership conflict, by accusing the non-corresponding authors of copyright infringement.

       And in Dynamic Solutions, the third party licensed the disputed works to the defendant

and represented that he wished to be joined after his attorney attended hearings in the case; the

court found joinder was proper because a ruling that the defendant infringed could impede his

interest in the copyright. Dynamic Sols., Inc. v. Planning & Control, Inc., No. 86 Civ. 1886,

1987 WL 6419, at *4-*5 (S.D.N.Y. Feb. 2, 1987). The non-corresponding authors here should

be notified so that they have this opportunity to attend hearings and decide whether they wish to

intervene. See 17 U.S.C. § 501(b) (“The court . . . shall permit the intervention, of any person

having or claiming an interest in the copyright.”). As the parties who uploaded the works to

ResearchGate, thereby granting an implied license to ResearchGate to host the works, they are in

the exact procedural posture as the third party in Dynamic Solutions.

       None of this is to say the Court needs to make a final determination on any of these issues

now. That would be inappropriate at the pleadings stage. But Plaintiffs’ position would require

the Court to rule that co-authors who have not signed any agreement with Plaintiffs have no

copyright interest, based on a presumption that is easily overcome. Instead, the Court should

exercise its discretion to notify these authors of this lawsuit, because they “have or claim an

interest in the copyright.”

       C.      The non-corresponding authors’ interests will be affected by this proceeding.

       The preceding section addressed why this Court should exercise its discretion to order

notification of non-corresponding authors.      But notice is also appropriate because non-

corresponding authors’ interests will likely be affected by this proceeding. 17 U.S.C. § 501(b).

Notice on that basis is not discretionary—it is mandatory.       Id.    Plaintiffs’ allegations and

                                               14
        Case 8:18-cv-03019-GJH Document 22 Filed 04/04/19 Page 20 of 26



admissions in their Opposition show that these interests will inevitably be affected.

               1.      Plaintiffs’ allegations create an unavoidable conflict with the authors
                       regarding their rights.

       Plaintiffs’ contributory infringement allegations depend on allegations of direct

infringement against the non-corresponding authors.        “An act of direct infringement is a

necessary predicate for any derivative liability . . . absent direct infringement, there can be no

contributory infringement.” DSC Commc’ns Corp. v. Pulse Commc’ns, Inc., 170 F.3d 1354,

1359 (Fed. Cir. 1999); see also BMG Rights Mgmt. (US) LLC v. Cox Commc’ns, Inc., 881 F.3d

293, 307 (4th Cir. 2018) (“One infringes contributorily by intentionally inducing or encouraging

direct infringement.”) (quoting Metro-Goldwyn-Mayer Studios Inc. v. Grokster, Ltd., 545 U.S.

913, 930 (2005)).

       Specifically, Plaintiffs’ allegations about the display of articles uploaded by the articles’

authors to ResearchGate depend on direct infringement claims against those same authors. See,

e.g., Compl.¶ 37 (“ResearchGate also prompts specific authors . . . to upload copies of specific

PJAs”); id. ¶ 38 (“[T]he ‘Request full-text’ feature on each publication page allows the user to

ask the author to upload a copy of the PJA. When the author fulfills one of these requests . . .

the article is automatically posted publicly on the RG Website.”) (emphases added).

       Given these accusations, Plaintiffs’ argument that “ResearchGate manufactures a dispute

between publishers and authors where none exists” rings hollow. Opp’n Br. at 2. Plaintiffs’ own

allegations in the Complaint create a dispute with these authors. Plaintiffs cannot succeed on

their claims without also successfully proving these authors directly infringed the works-in-

suit—works that were created by the same authors and for which Plaintiffs have no signed

written assignment with the authors they now accuse of infringement.




                                                15
        Case 8:18-cv-03019-GJH Document 22 Filed 04/04/19 Page 21 of 26



               2.      Plaintiffs admit that they have taken legal action against the authors
                       impairing their ability to share their own works.

       Indeed, as Plaintiffs explain in their Opposition, they have already taken legal action

against the non-corresponding authors; they sent takedown notices under Section 512 of the

Digital Millennium Copyright Act (“DMCA”) alleging that materials posted by those authors

infringe Plaintiffs’ copyrights and must be removed from the authors’ pages. Opp’n Br. at 9. In

response, ResearchGate acted expeditiously to remove the contested works. Given the ongoing

legal dispute over these authors’ postings, Plaintiffs cannot credibly suggest that they share a

unity of interest with the authors, or that the authors are “unlikely to be affected.”

       Plaintiffs point to the DMCA’s counter notification provision, see 17 U.S.C. 512(g)(3),

and make much of the fact that few if any of the authors have located and taken advantage of that

provision. But ResearchGate has received “messages from users objecting to the removal of

articles they have uploaded,” even though these users have not filed formal counter notifications

meeting the strictures of Section 512(g)(3). Opening Br. at 14; Monahan Decl. ¶ 9.

       As scholars Jennifer M. Urban, Joe Karaganis, and Brianna L. Schofield explain in their

seminal survey and analysis of the real-world functioning of the DMCA, Notice and Takedown

in Everyday Practice, U.C. Berkeley Pub. Law Res. Paper No. 2755628 (2017), the counter

notice procedure is “a dead letter,” which is “impractical and rarely used.” Id. at 44. Indeed,

“[a]ll [online service providers (“OSPs”)] and at least one rightsholder agreed that the counter

notice procedure’s practical ability to protect targets is limited.” Id. They explain that “the

actual use of counter notices is extremely infrequent,” and that “only one respondent among both

service providers and rightsholders reported receiving more than a handful per year.” Id.

       The reasons for this vary, but the predominant theme is that sending a counter notice is

unlikely to be effective and is an invitation to be named in a lawsuit. Indeed, the result of


                                                  16
        Case 8:18-cv-03019-GJH Document 22 Filed 04/04/19 Page 22 of 26



sending a counter notice is that the OSP must forward it to the party who sent the original notice.

The party who sent the notice then has ten business days to determine whether or not to bring a

federal lawsuit against the party who sent the counter notice. 17 U.S.C. § 512(g)(2)(A-C). The

OSP itself must replace the material “not less than 10, nor more than 14, business days following

receipt of the counter notice” unless the original party who sought removal of the material

informs the OSP that it has sought legal action against the counter-noticing party. This creates a

tremendous risk to the party who sends the counter notice, who often “has ‘little or no

knowledge of copyright law,’ and little capacity to make informed estimates of the risks

attendant on filing a counter notice[.]” Notice and Takedown in Everyday Practice at 44.

       ResearchGate also allows for the possibility that some or even many authors may not

have sent counter notices because they are unaware of their retained rights in their works. Some

may be surprised to receive a notice suggesting that they still may have an ownership right in

their work, and may have an opportunity to object to Plaintiffs’ actions. This matters not.

Copyright law makes clear that a written agreement with one co-author is insufficient to transfer

other co-authors’ interests. All Plaintiffs have pointed to is a written agreement with one co-

author. The absence of a written agreement with the non-corresponding co-authors justifies

notice to those co-authors, regardless of whether they have sent counter notices.

       In any event, the volume of takedown notices sent by Plaintiffs and the ineffectiveness of

the counter notice system is all the more reason to use Section 501(b) in this case in order “to

avoid a multiplicity of suits by ‘insuring to the extent possible that the other owners whose rights

may be affected are notified and given a chance to join the action.’” Kamakazi Music Corp., 534

F. Supp. at 74 (quoting H.R. Rep. No. 94-1476, at 159 (1976), reprinted in 1976 U.S.C.C.A.N.

5659, 5775). Plaintiffs cannot argue that it would be better to have thousands of individual suits



                                                17
           Case 8:18-cv-03019-GJH Document 22 Filed 04/04/19 Page 23 of 26



under the DMCA’s notice and takedown procedures, rather than a single suit resolving the

disputes altogether. Plaintiffs’ proposal is the precise scenario that Section 501(b) is designed to

prevent. And because Plaintiffs are already in conflict with these authors over their rights, these

authors’ rights are “likely to be affected by this proceeding.” Notice, therefore, is mandatory.

                3.     These disputes distinguish Metropolitan Regional.

       These disputes show why Plaintiffs’ citation to Metropolitan Regional Information

Systems, Inc. v. American Home Realty Network, Inc., 722 F.3d 591 (4th Cir. 2013) is inapposite.

Plaintiffs cite this case for the proposition that “where the copyright author appears to have no

dispute with its assignee on this matter . . . it would be anomalous to permit a third party

infringer to invoke § 204(a)’s signed writing requirement against the assignee.” Id. at 600

(quoting Eden Toys, Inc. v. Florelee Undergarment Co., 697 F.2d 27, 36 (2d Cir. 1982)). First,

Plaintiffs incorrectly describe this as the case’s holding. But the Fourth Circuit was describing

the holding of Eden Toys, a Second Circuit case, before noting that the question of third-party

standing under Section 204 was not raised by the parties. The Fourth Circuit instead resolved the

case by holding that there was a signed writing. Id. at 600-01, 603.

       The Court need not decide that issue now, however, because even under Plaintiffs’

reading, Metropolitan Regional is distinguishable. Under Plaintiffs’ interpretation, Metropolitan

Regional applies “where the copyright author appears to have no dispute with its [putative]

assignee on this matter.” But there is a dispute here: Plaintiffs’ contributory infringement claim

relies on finding the authors committed direct copyright infringement, and Plaintiffs have

already taken action, in the form of takedown notices, against those authors.

       Even if Metropolitan Regional did apply, that would be even more reason to notify the

authors.    Plaintiffs seek to bar ResearchGate from defending the authors’ interests; under

Plaintiffs’ reading, the only people with standing to defend the authors’ rights are the authors

                                                18
        Case 8:18-cv-03019-GJH Document 22 Filed 04/04/19 Page 24 of 26



themselves. The authors should be notified so that they have the opportunity to do so.

       D.      The burden on Plaintiffs is minimal compared to the stakes of this
               proceeding.

       Finally, Plaintiffs complain about the burden of notifying the authors. But nothing in the

statute requires (or, in the case of mandatory notice, permits) the balancing of burden against the

need for the notice.     Regardless, any burden is minimal compared to the stakes of this

proceeding, where the rights of thousands of authors are at stake.

       First, what burden there is derives from Plaintiffs’ own choices.         Plaintiffs made a

business decision (at least in many cases) to obtain a written assignment from only one author.

This may have saved them time and money in the short term, but it has left their copyright

ownership rights in question. Any burden now arises from Plaintiffs taking a calculated risk not

to obtain a written transfer from all co-authors in the first instance. Indeed, that Plaintiffs have

never communicated with the authors over whose work they are now asserting ownership is

more reason, not less, that these authors should be notified.

       Second, Plaintiffs chose to bring suit with respect to thousands of articles (rather than a

bellwether case about a smaller group). Plaintiffs cannot bring allegations with respect to over

three thousand articles, and then complain that the scope of the case makes contacting a subset of

those articles’ authors too burdensome.

       Third, Plaintiffs overstate the burden here. The authors to be notified are not nameless

users hiding behind online pseudonyms: They are academics and scientists who are known in

the research community. Plaintiffs already have their names (which appear at the top of each

article); most, if not all, will have contact information posted to their LinkedIn pages, university

profiles, or employers’ webpages.

       Notwithstanding the minimal burden involved here, and the fact that the burden is of


                                                19
        Case 8:18-cv-03019-GJH Document 22 Filed 04/04/19 Page 25 of 26



Plaintiffs’ own making, ResearchGate is happy to simplify the notice process by stipulating that

service of the notice via email, in a form mutually agreed by the parties and approved by the

Court, will be sufficient.   ResearchGate is also willing to meet and confer with Plaintiffs

regarding any other proposed reasonable simplifications Plaintiffs may suggest, and of course

will accede to any limitations the Court deems necessary.

III.   CONCLUSION

       Because the non-corresponding authors’ interests are likely to be affected by this

proceeding, ResearchGate respectfully requests that the Court order Plaintiffs to notify these

authors pursuant to 17 U.S.C. § 501(b).

Dated: April 4, 2019                            Respectfully submitted,

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                                                20
        Case 8:18-cv-03019-GJH Document 22 Filed 04/04/19 Page 26 of 26




                                CERTIFICATE OF SERVICE

        I hereby certify that on April 4, 2019 the within document was filed with the Clerk of the

Court using CM/ECF which will send notification of such filing to the attorneys of record in this

case.

                                                                  /s/ Toyja E. Kelley
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                                                21
